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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA,                          )
                                                    )
         vs.                                        )       1:93-cr-148-LJM-KPF-10
                                                    )
 PORTER BRIAN TAPPS,                                )
                                                    )
                              Defendant.            )



               Entry Further Discussing Motion for Modification of Sentence

       In November 2007 the Sentencing Commission reduced the base offense level for
 most crack offenses by two levels and made that change retroactive. See U.S.S.G. §
 2D1.1(c); Guidelines Manual, Supp. to App. C 226-31 (2008) (Amendment 706); see
 generally United States v. Lawrence, 535 F.3d 631 (7th Cir. 2008).

       Porter Tapps sought modification of his sentence based on the foregoing. The court
 granted his motion and modified his sentence to 365 months. In doing so, the court
 imposed a sentence at the top of a guideline range of 292 to 365 months.

       Tapps appealed the sentence modification just described. On March 29, 2010, the
 Court of Appeals issued its Order, which provides in part:

         Tapps’ new sentence range was 292 to 365 months. The district judge did
         not explain why he resentenced Tapps at the top of that range and rejected
         Tapps’ request for a lower sentence. Without that explanation, appellate
         review is not possible. We therefore order a limited remand so that the district
         judge can comply with Circuit Rule 50.

 Once the limited remand was received, the court re-appointed counsel for Tapps and gave
 the parties a period of time in which to “file any additional materials pertinent to the limited
 remand and this court’s duties pursuant to that matter.” The parties have done so.

         Having reviewed the court’s file, Tapps’ motion, and the briefs pertaining to such
 motion, the court continues to finds that Tapps is eligible for a reduction under Amendment
 706. The court also continues to find that a modified sentence of 365 months is
 appropriate. A further reduction in Tapps’ sentence, even though within the new
 sentencing range, is not appropriate because of the nature and seriousness of the danger
 to the community that would be posed by a further reduction in sentence. See Application
 Note 1(B) of U.S.S.G. § 1B1.10.

         IT IS SO ORDERED.

                                                        ________________________________
          12/27/2010                                    LARRY J. McKINNEY, JUDGE
 Date:                                                  United States District Court
                                                        Southern District of Indiana
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